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10   UNITED STATES SOCCER FEDERATION
11

12                                    UNITED STATES DISTRICT COURT
13                                   NORTHERN DISTRICT OF CALIFORNIA
14

15   HOPE SOLO,                                           Case No. 3:18-cv-05215 JD
16                      Plaintiff,                        DEFENDANT UNITED STATES SOCCER
                                                          FEDERATION, INC.’S RESPONSE TO
17          v.                                            PLAINTIFF’S MOTION FOR
                                                          ADMINISTRATIVE RELIEF
18   UNITED STATES SOCCER FEDERATION,
19                      Defendant.                        Complaint Filed: August 24, 2018
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                 DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ADMINISTRATIVE RELIEVE
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 1          Defendant United States Soccer Federation, Inc. (“U.S. Soccer”) submits this Response to the

 2   Motion for Administrative Relief filed by Plaintiff Hope Solo (“Solo”). U.S. Soccer does not oppose

 3   mediating with Solo individually. Indeed, U.S. Soccer and Solo already agreed to pursue either private

 4   mediation or a settlement conference to resolve this case. (Dkt. 42 at 5.) But U.S. Soccer’s agreement to

 5   mediate with Solo has nothing to do with U.S. Soccer’s agreement to mediate with the plaintiffs who are

 6   members of the U.S. Women’s National Team (USWNT) in the Morgan et al. v. United States Soccer

 7   Federation, Case No. 2:19-cv-0717-RGK-AGR, an entirely different case currently pending in the

 8   Central District of California. Solo is not a party to the Morgan case, and the Morgan plaintiffs are not

 9   parties to this case.1 Solo’s motion is unnecessary, procedurally improper, and should be denied.
10   A.     U.S. Soccer Already Agreed to Mediate With Solo Individually
11          On February 14, 2019, Solo and U.S. Soccer submitted a Joint Case Management Statement
12   memorializing their intent to mediate this case no later than January 2020. (Dkt. 42.) U.S. Soccer
13   remains willing to participate in mediation with Solo. Solo filed this Motion for an order compelling
14   mediation without asking U.S. Soccer to schedule mediation with her or to participate in the mediation
15   of the Morgan case. See Declaration of Richard M. Nichols, Exs. A-B (Dkt. 53-1, 53-2, 54). Solo thus
16   failed to seek a stipulation in advance of filing her motion, as required Local Rule 7-11(a). Even if she
17   had inquired with U.S. Soccer about participating in the Morgan settlement, U.S. Soccer would have
18   advised her that she would solely be participating in the Morgan mediation as putative class member
19   with the consent of the Morgan named plaintiffs.
20   B.     Solo Can Only Mediate With the Morgan Plaintiffs With Their Consent

21          Solo’s motion asks the Court to order the non-party Morgan plaintiffs to mediate their claims

22   jointly with Solo’s case. U.S. Soccer is unaware of any authority (nor does Solo cite any) that would

23   permit the Court to order non-parties to this action to mediate with Solo. The Court lacks the jurisdiction

24   necessary to order non-parties who have not voluntarily appeared in this case and who have not been

25   served with any request to join them with this case from mediating with Solo. Beecher v. Wallace, 381

26   1
      To be clear, U.S. Soccer previously moved to transfer the Morgan case to this district to enable
27   consolidation, but that motion was denied by the Central District. Nor has Solo has been willing to
     consolidate the instant case with the Morgan case in the Central District. Accordingly, the respective
28   Plaintiffs in the two cases appear to prefer to keep the cases separate.
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               DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ADMINISTRATIVE RELIEVE
                                      CASE NO. 3:18-CV-05215 JD
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 1   F.2d 372, 373 (9th Cir.1967) (in the absence of a voluntary appearance or a conscious waiver, service of

 2   process is an indispensable prerequisite to the court's jurisdiction to proceed); Liao v. Ashcroft, 2009 WL

 3   636191, at *3 (N.D. Cal. March 11, 2009) (court lacked authority to enter order compelling action of

 4   non-parties). The Morgan plaintiffs have not consented to jointly mediating their claims with Solo. To

 5   the extent she wishes to participate as a putative class and collective action member of the Morgan

 6   action, her participation in mediation must be through the individuals selected by the Morgan plaintiffs.

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     C.     The Court’s June 7, 2019 Order Does Not Require Consolidated Mediation of the Solo and
 8          Morgan Cases
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            Finally, Solo’s argument that the Court’s June 7, 2019 order directed the parties to jointly
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     mediate this case with the Morgan case should be rejected. The Court ordered the parties to confer
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     regarding ways to streamline discovery and pretrial proceedings with respect to the Morgan case for the
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     sake of the efficient, just, and speedy resolution of this matter. (Dkt. 48.) The Court’s order does not
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     reference global mediation in any way. U.S. Soccer remains willing to mediate with Solo individually,
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     but nothing in the Court’s June 7, 2019 Order or the Federal Rules of Civil Procedure would require or
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     even permit an order for U.S. Soccer and the Morgan plaintiffs to mediate jointly with Solo.
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     D.     Conclusion
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            U.S. Soccer never objected to mediating with Solo and remains willing to do so. However, her
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     request that the Court order the Morgan plaintiffs to mediate jointly with her is improper. Accordingly,
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     Solo’s motion should be denied.2
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       If the Court orders the parties to the Morgan litigation to include Solo in their meditation, it is U.S.
27   Soccer’s position that, at a minimum, Solo and her representatives be required, as a condition precedent,
     to enter into the same confidentiality agreement concerning the Morgan mediation already entered
28   between U.S. Soccer and the Morgan plaintiffs.
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               DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ADMINISTRATIVE RELIEVE
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 1   DATED: July 26, 2019                         Respectfully submitted,

 2                                                SEYFARTH SHAW LLP

 3

 4                                                By:___ _/s/ Ellen E. McLaughlin_____________
                                                       Chantelle C. Egan
 5                                                    Ellen E. McLaughlin
                                                      (pro hac vice admission anticipated)
 6                                                     Cheryl A. Luce
                                                      (pro hac vice admission anticipated)
 7
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 8                                                     UNITED STATES SOCCER
                                                       FEDERATION, INC.
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             DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION FOR ADMINISTRATIVE RELIEVE
                                    CASE NO. 3:18-CV-05215 JD
